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                   UNITED STATES COURT OF APPEALS
                        FOR THE THIRD CIRCUIT
                             ___________

                           Nos. 16-4405 and 17-1555
                                 ___________

                         WILLIAM L. BURRELL, JR.,
                                          Appellant

                                       v.

     PATRICK LOUNGO, individually; RICHARD GLADDYS, individually;
          ED ADAMS, individually; RICHARD SAXTON, individually;
      TRISH CORBETT, individually; ROBERT MCMILLAN, individually;
           TOM STAFF, individually; BRIAN JEFFERS, individually;
         JACK MCPHILLIPS, individually; TODD FRICK, individually;
          JOHN CRAIG, individually; LOUIS DENAPLES, individually;
     DOMINICK DENAPLES; THOMAS CUMMINGS; APRIL PHILLIPS;
               UNKNOWN AGENTS, Individually and Officially;
   THOMAS A. MARINO, individually and Officially; ANDREW J. JARBOLA,
       individually and as head DA & Individually as prison board member;
JOSEPH MARUT, individually; COREY O'BRIEN, individually and as a prison board
   member; PATRICK O'MALLEY, individually and as a prison board member;
   GARY DIBILEO; JIM WANSACZ, individually and as prison board member;
                         SHERIFF MARK MCANDREW;
          VITO P. GEROULO, Individually and as prison board member;
     LACKAWANNA RECYCLING CENTER, INC.; JOHN DOES 1 AND 2
                   ____________________________________

                 On Appeal from the United States District Court
                     for the Middle District of Pennsylvania
                          (M.D. Pa. No. 3-14-cv-01891)
                  District Judge: Honorable Robert D. Mariani
                  ____________________________________

                Submitted Pursuant to Third Circuit LAR 34.1(a)
                             November 24, 2017

      Before: GREENAWAY, JR., GREENBERG, and ROTH, Circuit Judges
      Case 3:14-cv-01891-RDM-JFS Document 57 Filed 12/28/18 Page 2 of 2




                                      ___________

                                     JUDGMENT
                                     ___________

       This cause came to be considered on the record from the United States District

Court for the Middle District of Pennsylvania and was submitted pursuant to Third

Circuit LAR 34.1(a) on November 24, 2017. On consideration whereof, it is now hereby

       ORDERED and ADJUDGED by this Court that the judgment of the District Court

entered February 23, 2017, be and the same is hereby affirmed in part and vacated in part,

and the matter is remanded for further proceedings. All of the above in accordance with

the opinion of this Court.


                                                        ATTEST:


                                                        s/Patricia S. Dodszuweit
                                                        Clerk
Dated: September 12, 2018




                                                 Certified as a true copy and issued in lieu
                                                 of a formal mandate on December 28, 2018


                                                Teste:
                                                Clerk, U.S. Court of Appeals for the Third Circuit



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